                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                 HARRISONBURG DIVISION

  LOREN VARNER,                                   )
                                                  )
         Plaintiff,                               )
                                                  )
  v.                                              )        Civil Action No. 5:17-cv-00080
                                                  )
  MICHAEL ROANE,                                  )        By: Elizabeth K. Dillon
                                                  )            United States District Judge
         Defendant.                               )

                                   MEMORANDUM OPINION

         Plaintiff Loren Varner and defendant Michael Roane, an Augusta County Deputy Sheriff,

  had an encounter that Varner’s complaint characterized as a seizure of his person. Ruling on a

  motion to dismiss, however, the court explained that the complaint’s allegations did not support

  that there was a seizure, but only that Varner and Roane had a consensual encounter. The court’s

  ruling regarding the consensual nature of the encounter left in the case only Varner’s claim that

  Roane violated the Fourth Amendment in searching Varner’s truck during that encounter.

  Varner’s complaint alleges that a drug dog used to search Varner’s truck was instead “going over

  to nearby police cars and alerting to drugs in those police cars.” (Compl. ¶ 27, Dkt. No. 1.)

  Then, Varner contends that one of Roane’s “subordinate officers” slapped on the fender of the

  truck, and the dog jumped up on that area of the truck. Varner asserts that the dog’s jumping was

  an “alert” and that Roane’s subordinate purposefully caused that “false alert” by slapping the

  truck. As to Roane, Varner asserts that Roane was present and that he knew, based on his

  experience with drug-sniffing dogs, that the alert was false, but Roane nonetheless used that alert

  to claim there was probable cause to search Varner’s truck. The truck was searched, and it is

  undisputed that no drugs were discovered. (See generally Compl.)




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           Now pending before the court is Roane’s summary judgment motion. (Dkt. No. 76.) As

  discussed in more detail herein, the undisputed facts in the summary judgment record fail to

  support the complaint’s key allegations. Instead, the court concludes that there is no evidence

  from which a reasonable jury could find that the dog’s alert was manufactured. Indeed, the

  undisputed facts establish that the dog alerted by pressing his nose against the truck, not by

  jumping. There are no facts that support a conclusion that Roane—or anyone else—

  manufactured that alert or knew it was manufactured. Nonetheless, that positive alert gave Roane

  and the other officers probable cause to search Varner’s truck. For this reason, discussed in more

  detail below, the court finds that no reasonable jury could find in Varner’s favor on his claim that

  his Fourth Amendment rights were violated by the search.

           Varner has also filed a motion to dismiss his complaint without prejudice. (Dkt. No. 88.)

  The court will deny this motion as moot in light of its ruling on summary judgment. See also

  infra Section II.C. (explaining that even if the court were to address that motion, it would deny it).

  All other pending motions also will be denied as moot.1 See infra Section II.D.

                                                   I. BACKGROUND

           After the court’s ruling on the motion to dismiss (Dkt. No. 23 (Oral Order); Hr’g Tr. 38,

  Dkt. No. 26), there is one claim remaining in this case: Varner’s claim, brought under 42 U.S.C.

  § 1983, that the search of his truck violated the Fourth Amendment because it was based on a




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              One of the pending motions is defendant’s motion in limine to exclude plaintiff’s two proffered experts.
  (Dkt. No. 78.) Although the court will deny that motion as moot, it notes that, to the extent that plaintiff seeks to rely
  on the expert testimony to oppose summary judgment, the court would not consider that testimony for the same basic
  reasons set forth in the motion in limine. Most notably, those reasons are: (1) most of the experts’ opinions are based
  on the allegations in the complaint rather than on the deposition testimony of witnesses; (2) some of the assertions are
  not proper subjects of expert testimony (such as opinions regarding what the law is or should be), or at least not in this
  case; and (3) many of the opinions are excludable as irrelevant or under Federal Rule of Evidence 403.

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  dog’s “false ‘drug alert’”—an alert that Roane allegedly “commanded and condoned.”2 The

  court sets forth the pertinent facts below, taken in the light most favorable to Varner.

           According to Varner, he was eating at the Tailgate Grill in Waynesboro on January 11,

  2017, when Roane entered and directed him to come out into the parking lot. Once out in the

  parking lot, Roane asked Varner to empty out his pockets. Except for a brief pat-down, Roane did

  not touch Varner.3 Immediately following the pat-down, Varner, Roane, and other officers were

  in the parking lot of the Tailgate. Roane advised Varner that a drug dog was going to be run

  around Varner’s vehicle, and Varner testified in his deposition that he was not worried about the

  free-air sniff and did not object. (Varner Dep. 119, Dkt. No. 77-2.) A Waynesboro police officer

  and K-9 officer, Jeremy Johnson, and his trained drug-sniffing dog, Zeke, were already on scene,

  and they conducted the free-air sniff.

           While the dog was performing the free-air sniff, Varner, Roane, and Officer C.J. Taylor

  were all standing together.4 They were located up to 50 feet away from Varner’s truck, on the

  driver’s side of the vehicle, and they never got any closer to his truck while the free-air sniff was

  conducted. According to Varner, neither he nor Roane said anything to each other during the time

  the dog was doing its work. Varner also admitted during his deposition that neither of the officers

  “were giving any direction or instruction to the dog or the canine officer.” (Varner Dep. 138.)


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              As the court explained at the hearing on the motion to dismiss, the court did not decide at that time whether
  the claim was a claim based on Roane’s direct actions and involvement or based on supervisory liability by
  encouraging the actions of the other offices. Discovery made clear—contrary to the complaint’s allegations—that
  the canine officer who supposedly manufactured the alert was a member of the Waynesboro Police Department and
  was in no way a subordinate of, or supervised by, Roane. At the time, Roane was an investigator with the Augusta
  County Sheriff’s Department who was assigned to a drug task force. The court still need not resolve that issue here,
  however, because the undisputed evidence shows there was no constitutional violation by anyone.
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            Although a portion of Roane’s brief is devoted to explaining how the initial encounter between Roane and
  Varner was consensual, the court has already dismissed Varner’s claim alleging that he was seized.

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             There are differences in their testimony concerning who was watching what and whether there was
  conversation among them, but the court solely credits Varner’s testimony on these issues.


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  Thus, he is not making any assertion that Roane took any action during the free-air sniff to

  communicate with or command the canine officer or Zeke to do anything.

         According to Johnson’s undisputed affidavit testimony and information he provided to

  dispatch, Zeke alerted to the presence of drugs on the passenger-side door. During the first few

  times Johnson led Zeke around the exterior of the vehicle, “each time Zeke exhibited changes of

  behavior at the passenger side door of the vehicle that with my training and experience with him I

  recognized as Zeke signifying a positive alert for drugs.” Then, on the last lap, Zeke gave a

  positive alert for drugs by “actually pressing his nose” on the door, while “all four of his paws

  remained on the ground.” Johnson avers that after Zeke made his final indication of a positive

  alert, Johnson verbally conveyed that information to the task force officers, and also advised

  dispatch. Johnson flatly denies that he or any other officer on scene interfered with or influenced

  Zeke to alert. (Johnson Aff. ¶¶ 1–6, Dkt. No. 77-1.)

         Notably, Varner testified that, because he was standing a distance away on the driver’s side

  of the vehicle, he could not see the dog’s actions while on the passenger side of the truck. (Varner

  Dep. 125–26, 135.) But Varner’s account of what he observed during the free-air sniff is slightly

  different. First, after each of the first four times that Johnson and Zeke had gone around the truck

  and arrived at the rear of it, Zeke veered away from the truck toward the trunk of the Waynesboro

  marked police car and put his paws on the police car. After each time, Johnson then pulled the

  leash, got Zeke off of the police car, and circled the truck again. (Varner Dep. 130–32.) On the

  dog’s final trip around Varner’s truck, Varner testified that Johnson smacked the fender (where the

  hood met the fender) on the passenger side,5 and the dog then jumped up on the fender, which

  Varner is now characterizing as an “alert.” It was after this that Roane told Varner the dog had



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             It is not clear from Varner’s testimony whether he saw the “smack” or heard it.

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  alerted and that the officers were going to search his truck. (Varner Dep. 135–36.) As noted, no

  drugs were found.

                                           II.   DISCUSSION

  A. Summary Judgment Standard

          Under Rule 56, summary judgment is proper where “there is no genuine dispute as to any

  material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). A

  genuine issue of material fact exists only where the record, taken as a whole, could lead a

  reasonable jury to return a verdict in favor of the non-moving party. Ricci v. DeStefano, 557 U.S.

  557, 586 (2009). In making that determination, the court must take “the evidence and all

  reasonable inferences drawn therefrom in the light most favorable to the nonmoving party.”

  Henry v. Purnell, 652 F.3d 524, 531 (4th Cir. 2011) (en banc) (quoting Ausherman v. Bank of Am.

  Corp., 352 F.3d 896, 899 (4th Cir. 2003)).

          A party opposing summary judgment “may not rest upon the mere allegations or denials of

  his pleading, but . . . must set forth specific facts showing that there is a genuine issue for trial.”

  Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986) (citations omitted). Moreover, “[t]he

  mere existence of some alleged factual dispute between the parties will not defeat an otherwise

  properly supported motion for summary judgment.” Id. at 247–48. Instead, the non-moving

  party must produce “significantly probative” evidence from which a reasonable jury could return a

  verdict in his favor. Abcor Corp. v. AM Int’l, Inc., 916 F.3d 924, 930 (4th Cir. 1990) (quoting

  Anderson, 477 U.S. at 249–50).

  B.      Fourth Amendment Claim

          Varner testified that, when Roane told him that the officers would like to have a dog

  conduct a free-air sniff of his truck, he did not object or say anything in response. He testified that



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  he was not worried about the dog doing a free-air sniff and that he knew he did not have anything

  illegal in the truck. (Varner Dep. 119.) Whether Varner objected is not material, in any event,

  because the Fourth Circuit has noted that having a drug dog “sniff the perimeter of [a] vehicle,”

  which is “stopped in a public place,” does not constitute a search under the Fourth Amendment.

  United States v. Jeffus, 22 F.3d 554, 557 (4th Cir. 1994). Furthermore, it is well established that

  once Zeke alerted, there was probable cause to conduct a search of Varner’s truck. See id.

  (“When the dog ‘alerted positive’ for the presence of drugs, the officer was given probable cause

  for the search that followed.”); United States v. Robinson, 707 F.2d 811, 815 (4th Cir. 1983) (“The

  detection of narcotics by a trained dog is generally sufficient to establish probable cause.”).

  Varner does not argue to the contrary.

           Varner’s dispute is with the alert itself, which he alleges was manufactured. As noted, he

  theorizes that Johnson, the canine officer, prompted Zeke to alert by slapping the truck. The

  problem with this theory, however, is that there is no evidence from which a reasonable jury could

  find this assertion to be true. First of all, Johnson’s undisputed affidavit clearly states that Zeke

  alerted to the truck by pressing his nose on, and pointing to, the passenger side door of the truck

  location. All four paws were on the ground the entire time of the alert. Johnson subsequently

  reported to the Drug Task Officers on scene and to Waynesboro dispatch that Zeke had alerted.

  (Johnson Aff. ¶¶ 4, 6 & exhibits).

           Varner relies primarily on his own testimony about the dog repeatedly jumping on the

  Waynesboro police vehicle,6 the “smack” by Johnson, and Zeke’s jumping on the fender of the

  truck. Varner testified that, following the dog’s jumping on the truck’s fender, Roane told him


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              This portion of his testimony is also supported by the testimony of another witness and Varner’s friend,
  Carl Robert Drumheller, who testified that he “thought that was funny, like that dog is ready to go home.”
  (Drumheller Dep. 48–49, 83, Dkt. No. 77-3.) Like Varner, Drumheller also testified that he could not see the
  passenger side of Varner’s truck during the free-air sniff. (Id. at 39–40.)

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  that the dog had positively alerted and that the officers had probable cause to search his truck.

  Varner testified that he did not hear the canine officer say anything prior to Roane’s statement.

  (Varner Dep. 136.) From this, Varner argues that it was the jumping on the truck that was the

  “alert,” and that the alert was caused by the “smack.” Even accepting as true the entirety of the

  facts observed by Varner and set forth in this paragraph, it does not lead to Varner’s conclusion.

         Varner still has not presented any facts, based on personal knowledge, to dispute that the

  dog alerted by pressing his nose against the vehicle and pointing, not by jumping. Additionally,

  as discussed in the background section, Varner testified that he could not see what occurred right

  before the “smack” or on the passenger side of the vehicle, where Zeke alerted according to

  Johnson. Thus, Varner cannot dispute that the alert occurred as Johnson described it. Johnson’s

  undisputed testimony, then, establishes probable cause for the subsequent search of his vehicle.

         Varner identifies several factual disputes, however, claiming that they create a genuine

  dispute of material fact that must be resolved at trial and not on summary judgment. But even

  resolving the alleged disputes in Varner’s favor, there still is not sufficient evidence from which a

  reasonable jury could conclude that the dog did not alert or that the alert was somehow

  manufactured. Put differently, even if they are disputes of fact, they are not material.

         The first disputed fact, according to Varner, is whether the dog alerted as described by

  Johnson or whether the dog alerted by jumping and pawing the vehicle’s front fender after Johnson

  slapped the vehicle. (Pl.’s Opp’n Mot. Summ. J. 5, Dkt. No. 91.) Varner continues to insist that

  the “alert” was the dog jumping on the truck. The problem with this assertion is that Varner has

  no training or expertise in how K-9 dogs alert generally, let alone any knowledge of how Zeke, in

  particular, alerts. Even crediting Varner’s testimony that there was an unexplained slap or smack

  on the fender, there is no evidence to tie that slap to the dog’s alert of pressing his nose against the



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  truck.7 The only competent evidence about the actual alert itself is Johnson’s testimony.

  Furthermore, Varner admits that he did not see what Johnson states was the alert, and thus he has

  no personal knowledge to refute that the dog engaged in the actions Johnson identified as alerting.

  There is simply no evidence to support an assertion that the alert was manufactured.

          The second purported dispute by Varner concerns the timing of Roane’s statement that

  because there had been an alert, they were going to search the truck. Specifically, Varner focuses

  on the fact that he had not heard Johnson say anything about the dog alerting and presumes that

  Roane –who was standing right next to him—had not heard anything either. Because Roane told

  him the dog had alerted after seeing the “slap cued alert,” though, Varner contends that the

  jumping on the car must have been the alert. (Pl.’s Opp’n Mot. Summ. J. 7.) Varner also

  surmises, without factual support, that Roane’s extensive experience must have caused him to

  know that the slap would manufacture an alert. Roane, however, testified that his attention during

  the search was focused on Varner and that he did not observe Johnson slap Varner’s truck.

  (Roane Dep. 121:4–6, Dkt. No. 91-2.) Varner’s own testimony about what Roane saw, heard, or

  knew is not based on personal knowledge and so cannot create a dispute of fact.

          But even if Roane, like Varner, mistakenly believed that the alert was the dog jumping on

  the vehicle, Roane’s mistake does not negate the probable cause created by the dog’s alert. It is

  undisputed that Johnson reported an alert, and he has explained—in the only testimony about how

  Zeke alerts—that Zeke’s alert did not involve jumping on a car. So, even if Roane saw the dog

  jump and decided that was an alert before he was ever informed of that fact, that does not result in

  any constitutional violation of Varner’s rights because there nonetheless existed probable cause to


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             Johnson’s affidavit also notes that when Zeke completes his work, Johnson is trained to reward him.
  While in the field, Johnson will “typically speak in an excited voice to reward Zeke after he has completed his work
  and that makes him jump up.” As Varner notes, Johnson did not state that this is what occurred on the date in
  question, but it would explain the sequence of events.

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  search the car. Varner has no facts to dispute that the officers conducting the search believed the

  dog had alerted. At the very least, then, Roane would be entitled to qualified immunity. See

  Plaster v. Boswell, No. 6:05-cv-6, 2007 WL 3231533, at *6 (W.D. Va. Oct. 30, 2007) (explaining

  that, where “probable cause actually existed, [defendant officers] are entitled to qualified

  immunity regardless of whether or not they were aware of the probable cause,” because there can

  be no Fourth Amendment violation based on a search that was, in fact, supported by probable

  cause).

            Third, Varner says that defendant’s motion incorrectly characterizes Varner’s testimony

  when it states that Varner did not testify that the dog alerted to nearby police cars. In his reply,

  defendant paints this as a matter of semantics, noting that Varner never testified the dog jumped up

  on multiple police cars, but only the one Waynesboro patrol car. Regardless of the arguments in

  the briefs, Varner’s deposition testimony is clear that he said the dog repeatedly veered toward or

  tried to jump on the nearby, marked Waynesboro patrol car (but no other cars) while the dog was

  circling Varner’s truck. So, the court credits that testimony as true. But it still does not

  overcome the fact that jumping on a car is not the way Zeke alerts and that Varner has no

  information whatsoever that Zeke’s jumping on a car or pulling toward another car is a way in

  which he alerts.

            For the foregoing reasons, the court concludes that there are no disputes of fact and that

  defendant is entitled to judgment as a matter of law.8 Accordingly, his motion for summary

  judgment will be granted.




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             Although the parties devote a portion of their briefing to the issue of whether Varner consented to the
  subsequent search of his truck, the court’s ruling on the dog’s alert makes it unnecessary to address whether Varner
  gave his consent. Once the officers had probable cause to search, consent became irrelevant.

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   C. Motion to Dismiss

           In light of the court’s grant of summary judgment in Roane’s favor, plaintiff’s motion to

   dismiss without prejudice (Dkt. No. 88) will be denied as moot. But even if the court were to

   address the motion to dismiss first, it would deny it or dismiss it only with prejudice. The factors

   the court must consider in ruling on a motion under Rule 41(a)(2) are:

                     (1) the opposing party’s effort and expense in preparing for trial; (2)
                     excessive delay or lack of diligence on the part of the movant; (3)
                     insufficient explanation of the need for a dismissal; and (4) the
                     present stage of the litigation, i.e., whether a dispositive motion is
                     pending.

   Hobbs v. Kroger Co., No. 98-1831, 1999 WL 156045, at *1 (4th Cir. Mar. 23, 1999); see also

   Howard v. Inova Health Care Servs., 302 F. App’x 166, 178–79 (4th Cir. 2008) (setting forth same

   factors). These factors weigh heavily in this case in favor of Roane, especially the first, third, and

   fourth factors.

   D. Other Pending Motions

           There are also a number of other motions pending, many of which were originally referred

   to the U.S. Magistrate Judge assigned to the case. Specifically, there are four motions filed by

   Varner. (Dkt. Nos. 70, 71, 74, 85.) Additionally, defendant Roane filed “Objections” (Dkt. No.

   84) to an order by the U.S. Magistrate Judge (Dkt. No. 72), and a motion in limine (Dkt. No. 78),

   which the court addresses supra note 1. The court briefly discusses these motions and explains

   why they are mooted by the court’s ruling herein.

           First, there are three motions filed by Varner (either on the date of the discovery deadline or

   afterward) in which he seeks additional discovery. (Dkt. Nos. 70, 74, 85.) Notably, though,

   none of these motions reference Rule 56(d), which states: “If a nonmovant shows by affidavit or

   declaration that, for specified reasons, it cannot present facts essential to justify its opposition, the



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   court may: (1) defer considering the motion or deny it; (2) allow time to obtain affidavits or

   declarations or to take discovery; or (3) issue any other appropriate order.” Fed. R. Civ. P. 56(d).

          Plaintiff’s motions fail to even reference Rule 56(d), let alone indicate a need for more

   discovery in order to respond to the summary judgment motion. Moreover, no declaration or

   affidavit as required by Rule 56(d) has been filed. For all of these reasons, it is plain that these

   motions do not request Rule 56(d) relief, nor do they require a ruling before the court rules on the

   summary judgment motion. The court notes, moreover, that these motions sought to obtain

   discovery past the discovery deadline, including (in part) the depositions of witnesses known to

   Varner before the close of discovery. For all of these reasons, they will be denied as moot.

          The court also has considered Varner’s request for an interlocutory appeal. (Dkt. No. 71.)

   The precise relief he seeks in that motion is unclear. To the extent Varner is requesting an appeal

   to the district court of the United States Magistrate Judge’s June 22, 2018 order (Dkt. No. 66), the

   court sees no clear error in that order, nor is any aspect of it contrary to law, as would be required

   for this court to reconsider a U.S. Magistrate Judge’s pretrial order. See 28 U.S.C.

   § 636(b)(1)(A). If Varner is in fact seeking an interlocutory appeal to the United States Court of

   Appeals for the Fourth Circuit from the magistrate judge’s order concerning discovery, as is

   indicated by some of the motion’s language and its reference to 28 U.S.C. § 1292(b), the court sees

   no basis for that request and it will be denied. Furthermore, now that the court will be entering

   final judgment in the case, there is no need for an interlocutory appeal. If Varner wants to appeal

   that order, he may do so.

          Lastly, Roane has filed objections (Dkt. No. 84) challenging the July 3, 2018 order of the

   U.S. Magistrate Judge (Dkt. No. 72) that addressed Varner’s invocation of his Fifth Amendment

   rights during discovery and denied Roane’s motion to dismiss based on that invocation and other



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   allegedly sanctionable conduct. In his objections, Roane argues that his motion was a dispositive

   motion because it sought dismissal, albeit based on discovery abuses, and thus that the U.S.

   Magistrate Judge could only act by report and recommendation and not by order. Roane thus

   requests that this court engage in de novo review of that order and dismiss the action with prejudice

   for the reasons set forth in the motion to dismiss. The court will vacate that portion of the order

   denying dismissal, but, in light of the court’s summary judgment ruling, any remaining objections

   to the order are moot.

                                           III. CONCLUSION

          For the reasons set forth herein, the court will grant defendant’s motion for summary

   judgment and enter judgment in defendant’s favor. These rulings and the other rulings described

   herein will be set forth in a separate order.

          Entered: February 28, 2019.



                                                   /s/ Elizabeth K. Dillon
                                                   Elizabeth K. Dillon
                                                   United States District Judge




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